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                                                                                              United States Bankruptcy Court
                                                                                                  Southern District of Texas

                                                                                                     ENTERED
UNITED STATES BANKRUPTCY COURT                                     SOUTHERN DISTRICT OF TEXAS 20, 2022
                                                                                      December
                                                                                                  Nathan Ochsner, Clerk

                                         MOTION AND ORDER
                                     FOR ADMISSION PRO HAC VICE

            Division                    Houston              Main Case Number                 22-33553
             Debtor              In Re: Alexander E. Jones


This lawyer, who is admitted to the State Bar of             New York        :

                       Name                           Kyle J. Kimpler
                       Firm                           Paul, Weiss, Rifkind, Wharton & Garrison LLP
                       Street                         1285 Avenue of the Americas
                 City & Zip Code                      New York, NY 10019
                    Telephone                         (212) 373-3253
             Licensed: State & Number                 NY 4721916


Seeks to appear as the attorney for this party:

                       The Connecticut Plaintiffs, * creditors and parties-in-interest
Dated: 12/20/2022                           Signed: /s/ Kyle J. Kimpler


COURT USE ONLY: The applicant’s state bar reports their status as:


Dated:                                      Signed:
                                                              Deputy Clerk



                                                  Order


                                     This lawyer is admitted pro hac vice.

Dated:         August 02,
               December 20,2019
                            2022
                                                                 United States Bankruptcy Judge




*
          Mark Barden, Jacqueline Barden, Francine Wheeler, David Wheeler, Ian Hockley, Nicole Hockley,
          Jennifer Hensel, William Aldenberg, William Sherlach, Carlos M. Soto, Donna Soto, Jillian Soto-Marino,
          Carlee Soto Parisi, and Robert Parker (collectively, the “Connecticut Plaintiffs”).

Doc#: US1:16730168v2
